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                         IN THE UNITED STATES DISTRICT COURT,
                           FOR THE DISTRICT OF NEW JERSERY

  IN RE VALSARTAN, LOSARTAN, AND                           MDL No. 2875
  IRBESARTAN PRODUCTS LIABILITY                            Master Docket Case No. 1:19-md-2875
  LITIGATION
                                                           Honorable Robert B. Kugler,
                                                           District Court Judge
  BRIAN LOVELAND,
                                                           Honorable Joel Schneider,
         v.
                                                           Magistrate Judge
  ZHEJIANG HUAHAI PHARMACEUTICAL
                                                          MOTION FOR LEAVE TO FILE
  CO., LTD., HUAHAI U.S. INC., SOLCO
                                                         A AMENDED COMPLAINT
  HEALTHCARE U.S., LLC,
  AMERISOURCEBERGEN CORPORATION,
  WALGREENS BOOTS ALLIANCE,
  PRINSTON PHARMACEUTICAL INC.,
                                                          Civil Action No. 1:22-cv-04357
  TORRENT PHARMA, INC., TORREN
  PHARMACEUTICALS, LTD., AND JOHN
  DOE.


        PLAINTIFF’S MOTION FOR LEAVE TO FILE AMENDED COMPLAINT

        The Plaintiff, by and through her undersigned counsel, moves this Honorable Court to

 allow the Plaintiff to file the attached First Amended Short-Form Complaint, pursuant to Federal

 Rule of Civil Procedure 15. In support, the Plaintiff states the following:

    1. Plaintiff, Brian Loveland, filed his Short-Form Complaint on June 30, 2022.

    2. Plaintiff’s original Short-Form Complaint was filed against only the following Defendants

        because of missing National Drug Codes: Zhejiang Huahai Pharmaceutical Co., Ltd.,

        Huahai U.S. Inc., Solco Healthcare U.S., LLC, AmerisourceBergen Corporation,

        Walgreens Boots Alliance, Prinston Pharmaceutical Inc., Torrent Pharma, Inc., Torren

        Pharmaceuticals, Ltd., and John Doe.

    3. Plaintiff seeks to amend his Short-Form Complaint to add the following Defendants:

        Camber Pharmaceuticals, Inc., Hetero Drugs, Ltd., Hetero Labs, Ltd., Hetero USA, Inc.,

        Vivimed Life Sciences Pvt. Ltd., Heritage Pharmaceuticals, Inc. d/b/a Avet
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        Pharmaceuticals, H J Harkins Co., Inc. dba PharmaPac, Wal-Mart, Inc., and McKesson

        Corporation.

    4. Plaintiff reached out to relevant Defense Counsel to attempt to meet and confer about this

        filing.

    5. Allowing Plaintiff to file the Amended Short-Form Complaint would serve justice and

        promote judicial efficiency. Further, there would be no substantial or undue prejudice, bad

        faith, undue delay, or futility.

    6. A Copy of the Proposed Amended Short-Form Complaint is attached as Exhibit A.

    7. A Copy of the Proposed Order is attached as Exhibit B.

        WHEREFORE, the Plaintiff respectfully requests this Honorable Court grant his Motion

 for Leave to File Amended Complaint.




                                                     Respectfully Submitted,

                                                     /s/ Tessa Cuneo
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